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                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA

JOY BANNER, Ph.D.                          *
     Plaintiff                             *
                                           *    Case No. 23-cv-7296
VERSUS                                     *
                                           *    Judge Nannette J. Brown
                                           *
MICHAEL WRIGHT, in his individual and      *    Magistrate Judge Karen W.
official capacities, JACLYN HOTARD, in her *    Roby
individual and official capacities; and    *
ST. JOHN THE BAPTIST PARISH;               *
        Defendants.                        *
                                           *
************************************************************************

  DEFENDANT’S RESPONSE TO PLAINTIFF’S THIRD SET OF DISCOVERY
                 REQUESTS TO JACLYN HOTARD

       NOW INTO COURT comes Defendant, JACLYN HOTARD, in her individual and

personal capacities, through undersigned counsel, who respectfully answers the Third Set

of Discovery Requests propounded by Petitioner, JOY BANNER, Ph.D, as follows.

                               GENERAL OBJECTIONS

       Defendant JACLYN HOTARD incorporates and re-urges any and all general

objections set forth in her previous responses to Plaintiff’s discovery requests.

       Notwithstanding said objections, and without waiving any and/or all of the above

stated objections, and; further, subject to any and all of the above stated objections,

Defendant answers as follows:
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                               REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION No. 4:

          At the November 28, 2023 St. John the Baptist Parish Council meeting, you asked

Chairman Wright to “establish order in the council room” while Dr. Banner was attempting

to speak.

RESPONSE TO REQUEST FOR ADMISSION No. 4:

          Denied as written.

REQUEST FOR ADMISSION No. 5:

          At the November 28, 2023 St. John the Baptist Parish Council meeting, you asked

Chairman Wright to “stop” Dr. Banner’s public comment.

RESPONSE TO REQUEST FOR ADMISSION No. 5:

          Denied as written.

REQUEST FOR ADMISSION No. 6:

          At the November 28, 2023 St. John the Baptist Parish Council meeting, you asked

Chairman Wright to “stop” Dr. Banner’s public comment because it was “completely

false.”

RESPONSE TO REQUEST FOR ADMISSION No. 6:

          Denied as written.

REQUEST FOR ADMISSION No. 7:

          At the November 28, 2023 St. John the Baptist Parish Council meeting, you told

Dr. Banner that she was in violation of state law.

RESPONSE TO REQUEST FOR ADMISSION No. 7:

          Denied as written.
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REQUEST FOR ADMISSION No. 8:

       Your actions described in RFAs 4 to 7 constituted a threat of prosecution towards

Dr. Banner.

RESPONSE TO REQUEST FOR ADMISSION No. 8:

       Denied as written.

REQUEST FOR ADMISSION No. 9:

       Your threat to Dr. Banner would chill a person of ordinary firmness from

continuing to engage in her activity.

RESPONSE TO REQUEST FOR ADMISSION No. 9:

       Denied as written.

REQUEST FOR ADMISSION No. 10:

       Your threat to Dr. Banner was designed to silence the viewpoint she was

expressing.

RESPONSE TO REQUEST FOR ADMISSION No. 10:

       Denied as written.

REQUEST FOR ADMISSION No. 11:

       Your threat to Dr. Banner would chill a person of ordinary firmness from

continuing to engage in her activity.

RESPONSE TO REQUEST FOR ADMISSION No. 11:

       Denied as written.

REQUEST FOR ADMISSION No. 12:

       If Dr. Banner had spoke on a different topic or from a different viewpoint, you

would not have asked Chairman Wright to intervene during her comment period.
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RESPONSE TO REQUEST FOR ADMISSION No. 12:

       Denied as written.

REQUEST FOR ADMISSION No. 13:

       Dr. Banner filed an ethics charge against you.

RESPONSE TO REQUEST FOR ADMISSION No. 13:

       Admitted.

REQUEST FOR ADMISSION No. 14:

       You asked Chairman Wright to intervene during Dr. Banner’s comment because

she was speaking about the ethics charge.

RESPONSE TO REQUEST FOR ADMISSION No. 14:

       Denied as written.

REQUEST FOR ADMISSION No. 15:

       Dr. Banner was prevented from making her intended comment on Agenda Item J

at the November 28, 2023 St. John the Baptist Parish Council meeting.

RESPONSE TO REQUEST FOR ADMISSION No. 15:

       Denied as written.

REQUEST FOR ADMISSION No. 16:

       You were acting at the November 28, 2023 Parish Council meeting in your capacity

as Parish President.

RESPONSE TO REQUEST FOR ADMISSION No. 16:

       Admitted.

REQUEST FOR ADMISSION No. 17:

       As Parish President, you are a final policymaker for St. John the Baptist Parish.
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RESPONSE TO REQUEST FOR ADMISSION No. 17:

       Denied as written.

REQUEST FOR ADMISSION No. 18:

       You were acting under the color of law at the November 28, 2023 Parish Council

meeting and within the course and scope of your employment as Parish President.

RESPONSE TO REQUEST FOR ADMISSION No. 18:

       Admitted.

REQUEST FOR ADMISSION No. 19:

       Dr. Banner was not in violation of any law with her public comment at the

November 28, 2023 Parish Council meeting.

RESPONSE TO REQUEST FOR ADMISSION No. 19:

       Denied as written.

                                 INTERROGATORIES

REQUEST FOR PRODUCTION No. 5:

All correspondence, including emails and text messages, with Darla Gaudet regarding Dr.

Joy Banner, The Descendants Project, Greenfield Louisiana LLC, the Greenfield grain

elevator project, or the property owned by Gaumet Holdings, LLC in the vicinity of the

Greenfield grain elevator project.

RESPONSE TO REQUEST FOR PRODUCTION No. 5:

No such documents exist.




                              [Signatures on following page]
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                                            Respectfully Submitted,



                                            /s/ Ike Spears___________________
                                            IKE SPEARS, LSB #17811
                                            909 Poydras Street, Ste. 1825
                                            New Orleans, LA 70112
                                            Telephone:     (504) 593-9500
                                            Telecopier: (504) 523-7766
                                            E-mail:ikespears@gmail.com



                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY the foregoing was served on attorney of records William

Most via electronic mail on July 2, 2024.

                           ________/s/ Ike Spears_________
                                      Ike Spears
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